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                                       #314



                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

      Plaintiff,

vs.

LEE MARVIN MATTHEWS,

      Defendant.                             No. 11-cr-30153-5-DRH



                    ORDER FOR PRESENTENCE PROCEDURE

HERNDON, Chief Judge:

      This matter comes before the Court for case management. Strict compliance

with Federal Rule of Criminal Procedure 32 and Southern District of Illinois Local

Rule Cr 32.1 shall be enforced. A party wishing to object to a presentence report

must have such objections filed with the Clerk of the Court no later than 14 days after

receiving the presentence report. For counsel, receiving is interpreted to mean when

the presentence report is docketed in the court file via CM/ECF. Responses to

objections must be filed no later than 7 days after receipt of said objections. Parties,

however, are encouraged to consult with the probation officer who authored the

presentence report prior to filing objections in an effort to obtain agreement to revise

the report without necessity of formal objections. Such informal discussions are not

sufficient cause to exceed the deadlines without leave of Court for an extension of

time, which likely will impact the sentencing date. Any unresolved objections which


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are subject to a formal objection shall cause the probation officer to prepare an

addendum addressing each objection.

      Any party wishing to file a sentencing memorandum relative to the issues to be

considered at sentencing, shall file such pleading no later than 7 days before

sentencing.   Likewise, should either party intend to present testimony at the

sentencing hearing, notice of the proposed witnesses, the subject of said testimony,

and projected length of the testimony shall be filed with the Court no later than 7

days prior to the sentencing hearing, with service on opposing counsel. Generally,

the Court schedules sentencing hearings for an hour and this information will allow

the Court the opportunity to change its schedule if necessary.

      If a party is unable to comply with this schedule, a continuance of the

sentencing date should be sought.

      IT IS SO ORDERED.

      Signed this 17th day of July, 2012.                        David R. Herndon
                                                                 2012.07.17
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                                             Chief Judge
                                             United States District Court




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